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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        1333 2nd Street, Suite 400
                    3   Santa Monica, CA 90401
                        Telephone: (310) 883-6400
                    4   Facsimile:    (310) 883-6500
                    5   ERIK MILCH [pro hac vice]
                        (emilch@cooley.com)
                    6   11951 Freedom Drive, 14th Floor
                        Reston, VA 20190
                    7   Telephone: (703) 456-8573
                        Facsimile:    (703) 456-8100
                    8   Attorneys for Plaintiff
                        Automated Pet Care Products, LLC d/b/a Whisker
                    9

                   10                                 UNITED STATES DISTRICT COURT
                   11                            NORTHERN DISTRICT OF CALIFORNIA
                   12

                   13   Automated Pet Care Products, LLC d/b/a           Case No. 3:22-cv-04261-VC
                        Whisker, a Michigan corporation,
                   14                                                    STIPULATION AND [PROPOSED] ORDER
                                         Plaintiff,                      SETTING BRIEFING SCHEDULE FOR
                   15                                                    DEFENDANTS’ MOTION TO DISMISS AND
                               v.                                        CASE MANAGEMENT CONFERENCE
                   16
                        PurLife Brands, Inc. d/b/a Smarty Pear, a
                   17   Delaware corporation, and Chris Madeiras, an     Judge: Hon. Vince Chhabria
                        individual,                                      Hearing Date: December 1, 2022
                   18                                                    Time: 10:00 a.m.
                                         Defendants.                     Courtroom: 4-17th Floor (Zoom Hearing)
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                                                                                              STIP. SETTING SCHEDULE
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                    1          Pursuant to Civil Local Rule 6-1, Plaintiff Automated Pet Care Products, LLC d/b/a
                    2   Whisker (“Plaintiff”), and PurLife Brands, Inc. d/b/a Smarty Pear (“Smarty Pear”), and Chris
                    3   Madeiras (collectively “Defendants”) (together, with Plaintiff, the “Parties”), hereby agree and
                    4   stipulate that good cause exists to request an order from the Court adopting the below briefing
                    5   schedule for Defendants’ motion to dismiss the Complaint and setting a date for the Case
                    6   Management Conference.
                    7                                                 RECITALS
                    8          WHEREAS, Plaintiff filed the Complaint in the above-entitled action in U.S. District Court
                    9   for the Northern District of California on July 22, 2022 (ECF 1);
                   10          WHEREAS, to harmonize deadlines, the Parties stipulated to an extension of time for
                   11   Defendants to respond to the Complaint from August 22, 2022 for Defendant Smarty Pear and
                   12   September 8, 2022 for Defendant Madeiras, to September 28, 2022 for both Defendants, which was
                   13   so ordered by the Court (ECF 14);
                   14          WHEREAS, in anticipation of Plaintiff filing the First Amended Complaint, the Parties
                   15   stipulated to an extension of time for Defendants to respond to the First Amended Complaint to
                   16   October 12, 2022, which was so ordered by the Court (ECF 20);
                   17          WHEREAS, Plaintiff filed the First Amended Complaint on September 22, 2022, adding a
                   18   third patent claim to the dispute (ECF 25);
                   19          WHEREAS, this action was reassigned from Judge van Keulen to this Court on October 7,
                   20   2022 (ECF 28);
                   21          WHEREAS, Defendants filed their Motion to Dismiss the First Amended Complaint in its
                   22   entirety on October 12, 2022 (ECF 29) (the “Motion”), and noticing a proposed hearing on
                   23   December 1, 2022;
                   24          WHEREAS, under the current schedule, Plaintiff’s brief in opposition to Defendants’
                   25   Motion is due by October 26, 2022, and Defendants’ reply brief in support of the Motion is due by
                   26   November 3, 2022;
                   27          WHEREAS, given the number of issues raised in the Motion, the Parties agree that the
                   28   deadline for Plaintiff’s opposition brief should be November 3, 2022, and the deadline for
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                    1   Defendants’ reply brief should be November 17, 2022;
                    2          WHEREAS, Plaintiff’s reply brief would be due 14 days before the proposed December 1,
                    3   2022 hearing date on the Motion, complying with Paragraph 40 of this Court’s Standing Order;
                    4          WHEREAS, the Parties also agree that, subject to this Court’s calendar, the proposed date
                    5   for the initial Case Management Conference should be set for December 14, 2022, consistent with
                    6   Paragraph 14 of this Court’s Standing Order, and that a Case Management Statement should be due
                    7   by December 7, 2022, consistent with Civil Local Rule 16-9(a) and Federal Rule of Civil Procedure
                    8   26(f)(2);
                    9          NOW THEREFORE, THE FOLLOWING IS HEREBY STIPULATED by and between
                   10   Plaintiff’s and Defendants’ counsel:
                   11          1.     Plaintiff’s brief in opposition to Defendant’s Motion to Dismiss the First Amended
                   12   Complaint shall be due no later than November 3, 2022, with Defendants’ reply brief due no later
                   13   than November 17, 2022.
                   14          2.     Subject to the Court’s calendar, the initial Case Management Conference shall occur
                   15   on December 14, 2022, with a Case Management Statement due by December 7, 2022.
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                   17    Dated: October 18, 2022
                                                                           COOLEY LLP
                   18
                                                                           /s/ Bobby Ghajar
                   19                                                      Bobby Ghajar
                   20                                                      Attorney for Plaintiff
                                                                           Automated Pet Care Products LLC d/b/a
                   21                                                      Whisker
                   22
                         Dated: October 18, 2022                           HAILEY GUILIANO LLP
                   23
                                                                           /s/ Richard T. McCaulley
                   24                                                      Richard T. McCaulley
                   25                                                      Attorney for Defendants
                                                                           PurLife Brands, Inc. d/b/a Smarty Pear, Chris
                   26                                                      Madeiras
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                    1                  ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)
                    2   I hereby attest that I obtained concurrence in the filing of this document from each of the other
                    3   signatories. I declare under penalty of perjury that the foregoing is true and correct.
                    4
                         Dated: October 18, 2022
                    5                                                         COOLEY LLP
                    6                                                         /s/ Bobby Ghajar
                                                                              Bobby Ghajar
                    7
                                                                              Attorney for Plaintiff
                    8                                                         Automated Pet Care Products LLC d/b/a
                                                                              Whisker
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